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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Southern District of Florida


                       Richard Spindler                               )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 21-82012-CIV-CANNON
                                                                      )
        Laboratory Corporation of America, Medtox                     )
          Laboratories, Inc., and Choice Lab, Inc.                    )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Choice Lab, Inc.
                                           221-B West Poplar Street
                                           Griffin, GA 30224




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Matthew A. Goldberger
                                           1555 Palm Beach Lakes Blvd., Suite 1400
                                           West Palm Beach, FL 33401



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




                                                                                        Doris Jones
Date:       Mar 30, 2022
